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 Fill in this information to identify the case:

 Debtor name         Liberty Bridge Capital Management GP, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         20-10009
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 3, 2020                         X /s/ Jaeson Birnbaum
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jaeson Birnbaum
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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               GLOBAL NOTES, METHODOLOGY AND SPECIFIC
          DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
      ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                           Introduction

        These Global Notes, Methodology and Specific Disclosures Regarding the Debtors’
Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of the Schedules of
Assets and Liabilities (the “Schedules”) and Statement of Financial Affairs (“Statements”) for each
of Liberty Bridge Capital Management GP, LLC, Cash4Cases, Inc., Liberty Bridge Capital
Management IM, LLC, Liberty Bridge Settlement Clearing, LLC, Liberty Bridge Finco LLC,
Liberty Bridge Capital Management, L.P., Diversified Pre-Settlement Portfolio I, A Series of
Liberty Bridge Capital Management, L.P. and Diversified Pre-Settlement Portfolio II, A Series of
Liberty Bridge Capital Management, L.P. (each a “Debtor” and collectively, the “Debtors”). The
Global Notes should be referred to, considered, and reviewed in connection with any review of the
Schedules and Statements.

        The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor
are they intended to be fully reconciled with the financial statements of any Debtor. Additionally,
the Schedules and Statements contain unaudited information that is subject to further review and
potential adjustment, and reflect the Debtors’ representatives’ reasonable efforts to report the
assets and liabilities of each Debtor.

       In preparing the Schedules and Statements, the Debtors’ professionals relied upon
information derived from each Debtor’s available books and records. However, certain of the
Debtors did not maintain separate books and records or were otherwise incomplete. Parties should
be advised that inadvertent errors or omissions, as well as the discovery of conflicting, revised, or
subsequent information, may cause a material change to the Schedules and Statements.

        The Debtors’ attorneys and financial advisors do not guarantee or warrant the accuracy or
completeness of the data that is provided in the Schedules and Statements, and shall not be liable
for any loss or injury arising out of or caused, in whole or in part, by the acts, omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained in the Schedules and Statements. Except
as expressly required by the Bankruptcy Code, each Debtor and its attorneys and financial advisors
expressly do not undertake any obligation to update, modify, revise, or re-categorize the
information provided in the Schedules and Statements or to notify any third party should the
information be updated, modified, revised, or re-categorized.

        In reviewing and signing the Schedules and Statements, the Debtors’ authorized person has
relied upon the efforts, statements, and representations of the Debtors’ professionals and in certain
instances upon the Debtors’ former personnel.




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                            Global Notes and Overview of Methodology

  1. Reservation of Rights. Reasonable efforts have been made to prepare and file complete
     and accurate Schedules and Statements; however, inadvertent errors or omissions may
     exist. The Debtors reserve all rights to amend or supplement the Schedules and Statements
     from time to time, in all respects, as may be necessary or appropriate, including, without
     limitation, the right to amend the Schedules and Statements with respect to a claim
     (“Claim”) description, designation; dispute or otherwise assert offsets or defenses to any
     Claim reflected in the Schedules and Statements as to amount, liability, priority, status, or
     classification; subsequently designate any Claim as “disputed,” “contingent,” or
     “unliquidated;” or object to the extent, validity, enforceability, priority, or avoidability of
     any Claim. Any failure to designate a Claim in the Schedules and Statements as “disputed,”
     “contingent,” or “unliquidated” does not constitute an admission by such Debtor that such
     Claim or amount is not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does
     not constitute an admission of liability by such Debtor against which the Claim is listed or
     against such Debtor. Furthermore, nothing contained in the Schedules and Statements shall
     constitute a waiver of rights with respect to each Debtor’s chapter 7 case, including,
     without limitation, issues involving Claims, defenses, equitable subordination,
     recharacterization, and/or causes of action arising under the provisions of chapter 5 of the
     Bankruptcy Code and any other relevant non-bankruptcy laws to recover assets or avoid
     transfers. Any specific reservation of rights contained elsewhere in the Global Notes does
     not limit in any respect the general reservation of rights contained in this paragraph.
     Notwithstanding the foregoing, the Debtors are not hereby committing or obligating itself
     to update the Schedules and Statements.

  2. Description of Cases and “as of” Information Date. The asset information provided in
     the Schedules and Statements, except as otherwise noted, represents the asset data of each
     Debtor as of the close of business on December 31, 2019, and the liability information
     provided herein, except as otherwise noted, represents the liability data of each Debtor as
     of the close of business on such date.

  3. Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and
     an inefficient use of estate assets for the Debtors to obtain current market valuations for all
     of the Debtors’ assets. Additionally, because the book values of certain assets, such as
     equipment may materially differ from their fair market values, they may be listed as
     undetermined amounts as of the Petition Date. Furthermore, as applicable, assets that have
     fully depreciated or were expensed for accounting purposes may not appear in the
     Schedules and Statements if they have no net book value.

  4. Recharacterization. Notwithstanding the reasonable efforts to properly characterize,
     classify, categorize, or designate certain Claims, assets, executory contracts, unexpired
     leases, and other items reported in the Schedules and Statements, these may, nevertheless,
     have been improperly characterized, classified, categorized, designated, or omitted certain
     items. Accordingly, all rights are reserved to recharacterize, reclassify, recategorize, further
     designate, add, or delete items reported in the Schedules and Statements at a later time as
     is necessary or appropriate as additional information becomes available, including, without

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     limitation, whether contracts or leases listed herein were deemed executory or unexpired
     as of the Petition Date and remain executory and unexpired postpetition.

  5. Real Property and Personal Property–Leased. In the ordinary course of its business, the
     Debtors may have leased various articles of personal property, including, fixtures, and
     equipment, from certain third-party lessors. Reasonable efforts were made to list all such
     leases in the Schedules and Statements.

  6. Excluded Assets and Liabilities. The Debtors have sought to allocate liabilities between
     the prepetition and post-petition periods based on the information and research conducted
     in connection with the preparation of the Schedules and Statements. As additional
     information becomes available and further research is conducted, the allocation of
     liabilities between the prepetition and post-petition periods may change.

     The Debtors have excluded certain categories of assets, tax accruals, and liabilities from
     the Schedules and Statements, including, without limitation, accrued salaries, employee
     benefit accruals, and deferred gains. In addition, certain immaterial assets and liabilities
     may have been excluded.

  7. Executory Contracts and Unexpired Leases. The Debtors known executory contracts
     and unexpired leases have been set forth in Schedule G of the Schedules, respectively.

  8. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b) Schedule
     E/F part 1 as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d) Schedule G as
     “executory” or “unexpired,” does not constitute an admission as to the legal rights of the
     claimant.

  9. Claims Description. Schedules D and E/F permit the Debtors to designate a Claim as
     “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim as
     “disputed,” “contingent,” or “unliquidated” does not constitute an admission that such
     amount is not “disputed,” “contingent,” or “unliquidated,” or that such Claim is not subject
     to objection. For the avoidance of doubt, given the authorized person’s present inability to
     verify the accuracy and completeness of the Debtors’ books and records, the Debtors have
     determined to designate certain claims as “disputed.” The overall effect of this
     determination will be that certain creditors are required to file proofs of their claims by a
     bar date to be established in this case.

  10. Causes of Action. Despite reasonable efforts to identify all known assets, the authorized
      person may not have listed all of the Debtors’ causes of action or potential causes of action
      against third-parties as assets in the Schedules and Statements, including, without
      limitation, causes of actions arising under the provisions of chapter 5 of the Bankruptcy
      Code and any other relevant non-bankruptcy laws to recover assets or avoid transfers. All
      rights are reserved with respect to any cause of action (including avoidance actions),
      controversy, right of setoff, cross-Claim, counter-Claim, or recoupment and any Claim on
      contracts or for breaches of duties imposed by law or in equity, demand, right, action, lien,
      indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense, power,

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     privilege, license, and franchise of any kind or character whatsoever, known, unknown,
     fixed or contingent, matured or unmatured, suspected or unsuspected, liquidated or
     unliquidated, disputed or undisputed, secured or unsecured, whether asserted directly or
     derivatively, whether arising before, on, or after the Petition Date, in contract or in tort, in
     law, or in equity, or pursuant to any other theory of law (collectively, “Causes of Action”),
     and neither these Global Notes nor the Schedules and Statements shall be deemed a waiver
     of any Claims or Causes of Action or in any way prejudice or impair the assertion of such
     Claims or Causes of Action.

  11. Global Notes Control. If the Schedules and Statements differ from these Global Notes,
      the Global Notes shall control.

               Specific Disclosures with Respect to the Debtors’ Schedules

     Schedule A/B. All values set forth in Schedule A/B reflect the book value of each of the
     Debtor’s assets as of the close of business on December 31, 2019, unless otherwise noted
     below.

     Schedule A/B part 3. The Debtors’ business operations involve the purchase from tort
     plaintiffs of all or a portion of such plaintiff’s recovery from litigation claims. The Debtors’
     aggregate receivables consist of the principal portion of the amounts purchased as well as
     an interest accrual which is presented with a 50% reserve. On account of intercompany
     transfers associated with these assets and the uncertainty of title at present, the aggregate
     value of the receivable assets are reflected on more than one of the Debtor’s Schedule A/B.

     Schedule A/B part 7, 8 and 9. Values related to furniture, equipment, building, vehicles
     and real property listed on Schedule A/B part 7, 8 and 9 are as the current market value, if
     known.

     Schedule D. The Claims listed on Schedule D arose or were incurred on various dates; a
     determination of the date upon which each Claim arose or was incurred would be unduly
     burdensome and cost prohibitive. Accordingly, not all such dates are included. All Claims
     listed on Schedule D, however, appear to have been incurred before the Petition Date.

     The Debtors have reflected three types of creditors and notice parties on Schedule D: 1)
     institutional parties that advanced funds to one or more of the Debtors and which advances
     were secured by security agreements on various assets; 2) individual parties that advanced
     funds and which related agreements identified certain assets as collateral; and 3) various
     other parties that purchased and assumed certain Debtor’s rights as to receivables subject
     to collection.

     Schedule E/F part 1. The Claimants listed in this category are for noticing purposes only.
     The Debtors are currently unaware of any amounts due to these Claimants.




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     Schedule E/F part 2. The Debtors have used reasonable efforts to report all general
     unsecured Claims against each the Debtor on Schedule E/F part 2, based upon the Debtors’
     books and records as of the Petition Date.

     Determining the date upon which each Claim on Schedule E/F part 2 was incurred or arose
     would be unduly burdensome and cost prohibitive and, therefore, no Debtor listed a date
     for each Claim listed on Schedule E/F part 2. Furthermore, claims listed on Schedule E/F
     part 2 may have been aggregated by unique creditor name and remit to address and may
     include several dates of incurrence for the aggregate balance listed.

     Schedule E/F part 2 contains information regarding pending litigation involving each
     Debtor. The dollar amount of potential Claims associated with any such pending litigation
     is listed as “undetermined” and marked as contingent, unliquidated, and disputed in the
     Schedules and Statements. Some of the litigation Claims listed on Schedule E//F may be
     subject to subordination pursuant to section 510 of the Bankruptcy Code or otherwise.
     Schedule E/F part 2 also includes potential or threatened litigation claims. Any information
     contained in Schedule E/F part 2 with respect to such potential litigation shall not be a
     binding representation of the Debtors’ liabilities with respect to any of the potential suits
     and proceedings included therein.

     Schedule E/F part 2 reflects the prepetition amounts owing to counterparties to executory
     contracts and unexpired leases. Such prepetition amounts, however, may be paid in
     connection with the assumption, or assumption and assignment, of executory contracts or
     unexpired leases. Additionally, Schedule E/F part 2 does not include potential rejection
     damage Claims, if any, of the counterparties to executory contracts and unexpired leases
     that may be rejected.

     Schedule G. Certain information, such as the contact information of the counterparty, may
     not be included where such information could not be obtained through reasonable efforts.
     Listing or omitting a contract or agreement on Schedule G does not constitute an admission
     that (i) such contract or agreement is or is not an executory contract, (ii) such unexpired
     lease was in effect on the Petition Date, or (iii) such contract or agreement is valid or
     enforceable. Certain of the leases and contracts listed on Schedule G may contain certain
     renewal options, guarantees of payment, indemnifications, options to purchase, rights of
     first refusal, and other miscellaneous rights. Such rights, powers, duties, and obligations
     are not set forth separately on Schedule G.

     The contracts, agreements, and leases listed on Schedule G may have expired or may have
     been modified, amended, or supplemented from time to time by various amendments,
     restatements, waivers, estoppel certificates, letters, memoranda, and other documents,
     instruments, and agreements that may not be listed therein despite the Debtors’ reasonable
     efforts to identify such documents. Further, unless otherwise specified on Schedule G, each
     executory contract or unexpired lease listed thereon shall include all exhibits, schedules,
     riders, modifications, declarations, amendments, supplements, attachments, restatements,
     or other agreements made directly or indirectly by any agreement, instrument, or other



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     document that in any manner affects such executory contract or unexpired lease, without
     respect to whether such agreement, instrument, or other document is listed thereon.

     In addition, the Debtors may have entered into various other types of agreements in the
     ordinary course of its business, such as subordination, nondisturbance, and attornment
     agreements, supplemental agreements, settlement agreements, amendments/letter
     agreements, title agreements and confidentiality agreements. Such agreements may not be
     set forth on Schedule G. Certain of the executory agreements may not have been
     memorialized and could be subject to dispute. Executory agreements that are oral in nature
     have not been included on the Schedule G.

     Schedule H. For purposes of Schedule H, the parties that are either the principal obligors
     or guarantors under the prepetition debt facilities are listed as co-debtors on Schedule H.

     In the ordinary course of its business, the Debtors may be involved in pending or threatened
     litigation. These matters may involve multiple plaintiffs and defendants, some or all of
     whom may assert cross-Claims and counter-Claims against other parties. Litigation matters
     can be found on each Debtor’s Schedule E/F part 2 and Statement 7, as applicable.




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 Fill in this information to identify the case:

 Debtor name            Liberty Bridge Capital Management GP, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)               20-10009
                                                                                                                                                                                          Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                      12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                     $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                        $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                       $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                        $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                              $                      0.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                    page 1
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 Fill in this information to identify the case:

 Debtor name         Liberty Bridge Capital Management GP, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         20-10009
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Signature Bank                                                                          0861                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Liberty Bridge Capital Management GP, LLC                                    Case number (If known) 20-10009
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 2
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 Debtor          Liberty Bridge Capital Management GP, LLC                                                           Case number (If known) 20-10009
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 3
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 Fill in this information to identify the case:

 Debtor name         Liberty Bridge Capital Management GP, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)             20-10009
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   BCP Special Opportunities                      Describe debtor's property that is subject to a lien                     Unknown                       $0.00
       Creditor's Name                                all assets
       Fund I Holdings LP, as
       Agent
       650 Madison Avenue, Floor
       23
       New York, NY 10022
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Coop Capital LLC                               Describe debtor's property that is subject to a lien                     Unknown                       $0.00
       Creditor's Name                                all assets
       400 Madison Avenue, Suite
       4D
       New York, NY 10016
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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 Debtor       Liberty Bridge Capital Management GP, LLC                                                Case number (if know)    20-10009
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Diversified Pre-Settlement
 2.3                                                                                                                           Unknown           $0.00
       Portfolio I                                    Describe debtor's property that is subject to a lien
       Creditor's Name                                all assets
       228 Park Avenue South
       New York, NY 10003
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Lenders Funding, LLC                           Describe debtor's property that is subject to a lien                     Unknown           $0.00
       Creditor's Name                                all present and future assets
       2200 Fletcher Avenue
       Fort Less, NJ 07407
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Prism Alt Income, LLC                          Describe debtor's property that is subject to a lien                     Unknown           $0.00
       Creditor's Name                                all commerical tort claims and all of the
                                                      related assets, all cash, cash equivalents,
       15333 N. Pima Road                             A/R, etc.
       Scottsdale, AZ 85260
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 3
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 Debtor       Liberty Bridge Capital Management GP, LLC                                                Case number (if know)   20-10009
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  $0.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Liberty Bridge Capital Management GP, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)           20-10009
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Isis Colon                                                Check all that apply.
           207 Gibson Blvd.                                             Contingent
           Clark, NJ 07066                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Jacqueline A. Nigro                                       Check all that apply.
           PO Box 1355                                                  Contingent
           Hopewell Junction, NY 12533                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 13
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 Debtor       Liberty Bridge Capital Management GP, LLC                                                       Case number (if known)   20-10009
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 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Maciel Cruz                                                Check all that apply.
          4111 Elbertson Street, #662                                   Contingent
          Elmhurst, NY 11373                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Orisel Perdomo                                             Check all that apply.
          9201 Lamont Avenue, Apt. 3G                                   Contingent
          Elmhurst, NY 11373                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Pat Pait                                                   Check all that apply.
          132 Saw Mill Road                                             Contingent
          Sparta, NJ 07871                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Robert Livoti                                              Check all that apply.
          47 Barry Road                                                 Contingent
          Scarsdale, NY 10583                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 13
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 Debtor       Liberty Bridge Capital Management GP, LLC                                                       Case number (if known)          20-10009
              Name

 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Roseanna Gutierrez                                        Check all that apply.
           38-12 98th Street, 1st Floor                                 Contingent
           Corona, NY 11368                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Stanley Di Cicco                                          Check all that apply.
           505 East 79th Street, Apt. 6L                                Contingent
           New York, NY 10075                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                Unknown
           Alabama Secretary Of State                                                  Contingent
           600 Dexter Avenue,                                                          Unliquidated
           Montgomery,, AL 36130                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                Unknown
           Alston & Bird                                                               Contingent
           90 Park Avenue                                                              Unliquidated
           New York, NY 10016                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                Unknown
           American Legal Finance Association                                          Contingent
           818 Connecticut Ave NW Suite 1100                                           Unliquidated
           Washington, DC 20006                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




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              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Ashirus, LLC                                                          Contingent
          181 Cherry Lane                                                       Unliquidated
          Teaneck, NJ 07666                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Bronx County Bar Endowment Fund                                       Contingent
          851 Grand Concourse                                                   Unliquidated
          Room 124                                                              Disputed
          Bronx, NY 10451
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          California Secretary of State                                         Contingent
          1500 11th Street                                                      Unliquidated
          Sacramento, CA 95814                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Cipolla Financial Advisors                                            Contingent
          851 Franklin Lake Road                                                Unliquidated
          Franklin Lakes, NJ 07417                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          CNA Surety                                                            Contingent
          P.O Box 957312                                                        Unliquidated
          St. Louis, MO 63195                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Connecticut Secretary of State                                        Contingent
          30 Trinity Street                                                     Unliquidated
          Hartford, CT 06106                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Corporations & Companies                                              Contingent
          910 Foulk Road, Suite 201                                             Unliquidated
          Wilmington, DE 19803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          CRM Passport LLC                                                      Contingent
          33 Gold Street Apt. 322                                               Unliquidated
          New York, NY 10038                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          CSC                                                                   Contingent
          P.O. Box 13397                                                        Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          CT Corporation                                                        Contingent
          28 Liberty St Floor 42                                                Unliquidated
          New York, NY 10005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Delaware Secretary of State                                           Contingent
          401 Federal Street, #4                                                Unliquidated
          Dover, DE 19901                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Delux Checks                                                          Contingent
          3680 Victoria Street                                                  Unliquidated
          North Shoreview, MN 55126                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Dom Ben Realty Corporation                                            Contingent
          280 Madison Avenue                                                    Unliquidated
          New York, NY 10016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Earth Class Mail                                                      Contingent
          228 Park Ave South                                                    Unliquidated
          New York, NY 10003                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          EisnerAmper                                                           Contingent
          750 Third Avenue                                                      Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          FedEx                                                                 Contingent
          P.O. Box 371461                                                       Unliquidated
          Pittsburgh, PA 15250-7461                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Florida Secretary of State                                            Contingent
          500 South Bronough Street                                             Unliquidated
          Tallahassee, FL 32399                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          FreedomVoice                                                          Contingent
          5600 Avenida Encinas, Suite 170                                       Unliquidated
          Carlsbad, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Genius Computer Solutions, Inc.                                       Contingent
          62 Williams Street 4th Floor                                          Unliquidated
          New York, NY 10005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Georgia Clerks Authority                                              Contingent
          1875 Century Boulevard, Suite 100                                     Unliquidated
          Atlanta, GA 30345                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Google, LLC                                                           Contingent
          1600 Ampitheather Pkwy                                                Unliquidated
          Mountain View, CA 94043                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          GSD Company                                                           Contingent
          135 E 57th Street                                                     Unliquidated
          New York, NY 10022                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          HiTouch                                                               Contingent
          PO Box 930257                                                         Unliquidated
          Atlanta, GA 31193                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Illinois Secretary of State                                           Contingent
          213 State Capitol                                                     Unliquidated
          Springfield, IL 62756                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Indiana Secretary of State                                            Contingent
          200 W. Washington Street, Room 201                                    Unliquidated
          Indianapolis, IN 46204                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          K & L Gates, LLP                                                      Contingent
          1600 Ampitheather Pkwy                                                Unliquidated
          Wilmington, DE 19801                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Key Operations Network, Inc.                                          Contingent
          132 Sawmill Road                                                      Unliquidated
          Sparta, NJ 07871                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Korthi Capital LLC                                                    Contingent
          129 W 12th Street                                                     Unliquidated
          New York, NY 10011                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Liberty Bridge Capital Management GP, LLC                                               Case number (if known)            20-10009
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Louisiana SOS                                                         Contingent
          8585 Archives Ave                                                     Unliquidated
          Baton Rouge, LA 70809                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Maine Secretary of State                                              Contingent
          148 State House Station                                               Unliquidated
          Augusta, ME 04333                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Massachusetts Secretary of State                                      Contingent
          Massachusetts Secretary of State - One A                              Unliquidated
          Boston, MA 02108                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Michigan Secretary of State                                           Contingent
          430 W Allegan Street                                                  Unliquidated
          Lansing, MI 48918                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Mighty Group Inc                                                      Contingent
          48 West 25th Street 3rd Floor                                         Unliquidated
          New York, NY 10010                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Mississippi SOS                                                       Contingent
          401 Mississippi Street                                                Unliquidated
          Jackson, MS 39201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Missouri Secretary of State                                           Contingent
          600 West Main Street                                                  Unliquidated
          Jefferson City, MO 65101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Liberty Bridge Capital Management GP, LLC                                               Case number (if known)            20-10009
              Name

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          NES Financial Corp                                                    Contingent
          50 W San Fernando Street, Suite 300                                   Unliquidated
          San Jose, CA 95113                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          New Mexico SOS                                                        Contingent
          325 Don Gaspar Suite 300                                              Unliquidated
          Santa Fe, NM 87501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          New York Secretary of State                                           Contingent
          123 William Street                                                    Unliquidated
          New York, NY 10038                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          NJ SOS                                                                Contingent
          P.O. Box 450                                                          Unliquidated
          Trenton, NJ 08646-0303                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Ohio Secretary of State                                               Contingent
          22 N 4th Street                                                       Unliquidated
          Columbus, OH 43215                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Pashman Stein PC                                                      Contingent
          Court Plaza South 21 Main St #200                                     Unliquidated
          Hackensack, NJ 07601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Patrick Pait                                                          Contingent
          132 Saw Mill Rd                                                       Unliquidated
          Sparta, NJ 07871                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Paychex of New York                                                   Contingent
          1175 John Street                                                      Unliquidated
          West Henrietta, NY 14586                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Pennsylvania SOS                                                      Contingent
          401 North Street                                                      Unliquidated
          Harrisburg, PA 17120                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Ralph Attanasio                                                       Contingent
          Hunters Pointe                                                        Unliquidated
          Middletown, NJ 07748                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Raul Sloezen                                                          Contingent
          18 Hasbrouck Avenue                                                   Unliquidated
          Emerson, NJ 07630                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          RCATV Inc.                                                            Contingent
          P.O. Box 3243                                                         Unliquidated
          Greenwood Village, CO 80155                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Salesforce.com Inc.                                                   Contingent
          P.O. Box 203141                                                       Unliquidated
          Dallas, TX 75320-3141                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Sarah Lockart                                                         Contingent
          125 E 93rd Street, Apt. 5C                                            Unliquidated
          New York, NY 10128                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Segue Cloud Services LLC                                              Contingent
          62 Mill Hill Rd                                                       Unliquidated
          Woodstock, NY 12498                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          ShredX                                                                Contingent
          P.O Box 462                                                           Unliquidated
          Lyndhurst, NJ 07071                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Signature Bank                                                        Contingent
          261 Madison Ave                                                       Unliquidated
          New York, NY 10016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          South Carolina Secretary of State                                     Contingent
          1205 Pendleton Street                                                 Unliquidated
          Columbia, SC 29201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Staples Direct                                                        Contingent
          500 Staples Drive                                                     Unliquidated
          Framingham, MA 01702                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          State of New York Workers' Compensation                               Contingent
          PO Box 5200                                                           Unliquidated
          Binghamton, NY 13902                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Tennessee Secretary ot State                                          Contingent
          312 Rosa L. Parks Avenue                                              Unliquidated
          Nashville, TN 37243                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Texas Secretary of State                                              Contingent
          1019 Brazos Street                                                    Unliquidated
          Austin, TX 78701                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          The Better Business Bureau                                            Contingent
          30 East 33rd Street                                                   Unliquidated
          New York, NY 10016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Thomas Matarazzo                                                      Contingent
          3 Winslow Circle                                                      Unliquidated
          Tuckahoe, NY 10707                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Triumph Legal Funding, LLC                                            Contingent
          140 Fairfield Road                                                    Unliquidated
          Fairfield, NJ 07004                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Verizon                                                               Contingent
          PO Box 15124                                                          Unliquidated
          Albany, NY 12212                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Virginia Secretary of State                                           Contingent
          P.O. Box 1197                                                         Unliquidated
          Richmond, VA 23218                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Washington State SOS                                                  Contingent
          PO Box 40220                                                          Unliquidated
          Olympia, WA 98504-0220                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Liberty Bridge Capital Management GP, LLC                                               Case number (if known)            20-10009
              Name

 3.67      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Wilmington Trust                                                     Contingent
           P.O. Box 8955                                                        Unliquidated
           Wilmington, DE 19899-8955                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.68      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Wingman Marketing                                                    Contingent
           25562 Old Course Way                                                 Unliquidated
           San Clarita, CA 91355                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.69      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Wisconsin Secretary of State                                         Contingent
           P.O. Box 7848                                                        Unliquidated
           Madison, WI 53707                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                              0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                              0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                                0.00




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 Fill in this information to identify the case:

 Debtor name         Liberty Bridge Capital Management GP, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         20-10009
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   broker services to
             lease is for and the nature of               provide leads for
             the debtor's interest                        lawsuit, settlement and
                                                          surgical funding
                  State the term remaining
                                                                                      Bob Tansey
             List the contract number of any                                          140 Fairfield Road
                   government contract                                                Fairfield, NJ 07004


 2.2.        State what the contract or                   employee training and
             lease is for and the nature of               database development
             the debtor's interest

                  State the term remaining
                                                                                      Key Operations Network, Inc.
             List the contract number of any                                          132 Sawmill Road
                   government contract                                                Sparta, NJ 07871


 2.3.        State what the contract or                   backoffice services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Mighty Group Inc.
             List the contract number of any                                          48 W. 25th Street, 3rd Floor
                   government contract                                                New York, NY 10010


 2.4.        State what the contract or                   payroll services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Paychex of New York
             List the contract number of any                                          1175 John Street
                   government contract                                                West Henrietta, NY 14586




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 Liberty Bridge Capital Management GP, LLC                                            Case number (if known)   20-10009
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   broker services to
             lease is for and the nature of               provide leads for
             the debtor's interest                        lawsuit, settlement and
                                                          surgical funding
                  State the term remaining
                                                                                       Triumph Legal Funding LLC
             List the contract number of any                                           140 Fairfield Road
                   government contract                                                 Fairfield, NJ 07004


 2.6.        State what the contract or                   agreement for internet
             lease is for and the nature of               marketing services
             the debtor's interest

                  State the term remaining

             List the contract number of any                                           Wingman Marketing
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Liberty Bridge Capital Management GP, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         20-10009
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Liberty Bridge Capital Management GP, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)         20-10009
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                                  Unknown
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
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 Debtor       Liberty Bridge Capital Management GP, LLC                                                 Case number (if known) 20-10009



    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
    a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Lenders Funding, LLC v.                          breach of contract         United States District Court,                 Pending
               Cash4Cases, Inc., Jaeson                         and fraud                  NDCA                                          On appeal
               Birnnaum, Kenneth                                                           Ronald V. Dellums Federal
                                                                                                                                         Concluded
               Birnbaum, and Liberty Bridge                                                Building
               Capital Management GP, LLC                                                  & US Courthouse
               3:19-CV-08096-YGR                                                           1301 Clay Street
                                                                                           Oakland, CA 94612


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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 Debtor        Liberty Bridge Capital Management GP, LLC                                                   Case number (if known) 20-10009



       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                              lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates          Total amount or
                the transfer?                                                                                                                          value
                Address
       11.1.    Klestadt Winters Jureller
                Southard & Stevens, LLP
                200 West 41st Street, 17th
                Floor
                New York, NY 10036-7203                                                                                        12/30/19          $125,000.00

                Email or website address
                klestadt.com

                Who made the payment, if not debtor?
                Liberty Bridge Capital Management
                IM, LLC paid aggregate retainer on
                behalf of affiliated debtors


       11.2.                                                                                                                   12/11/19 -
                Ryniker Consultants, LLC                                                                                       $40,000
                156 Dubois Avenue, Floor 2                                                                                     12/23/19 -
                Sea Cliff, NY 11579                                                                                            $40,000            $80,000.00

                Email or website address
                brian@rynikerllc.com

                Who made the payment, if not debtor?
                Liberty Bridge Capital Management
                IM, LLC paid aggregate retainer on
                behalf of affiliated debtors



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers        Total amount or
                                                                                                                       were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

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               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was               Last balance
               Address                                          account number            instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents             Do you still
                                                                     access to it                                                                 have it?
                                                                     Address

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 Debtor      Liberty Bridge Capital Management GP, LLC                                                  Case number (if known) 20-10009



20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None


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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Liberty Bridge Capital                           general partner                                  EIN:         XX-XXXXXXX
             Management, L.P.
             280 Madison Avenue                                                                                From-To
             New York, NY 10017


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Cipolla Finacial Advisors, LLC
                    1325 Avenue of the Americas , 28th Floor
                    New York, NY 10019
       26a.2.       EisnerAmper
                    750 Third Avenue
                    New York, NY 10017
       26a.3.       Teitelbaum & Company
                    500 Wythy Avenue
                    Brooklyn, NY 11249
       26a.4.       Marc M. Radin, P.C.
                    126 Valley Road, Second Floor
                    Glen Rock, NJ 07452

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory         The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



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 Debtor      Liberty Bridge Capital Management GP, LLC                                                  Case number (if known) 20-10009



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jaeson Birnbaum                                9 Cameron Road                                      Chief Executive                       100
                                                      Saddle River, NJ 07458                              Officer/Manager



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Matthias Ederer                                BC Partners                                         manager
                                                      650 Madison Avenue, 23rd Floor
                                                      New York, NY 10022

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 3, 2020

 /s/ Jaeson Birnbaum                                                    Jaeson Birnbaum
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Liberty Bridge Capital Management GP, LLC                                                     Case No.    20-10009
                                                                                   Debtor(s)              Chapter     7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       January 3, 2020                                            /s/ Jaeson Birnbaum
                                                                        Jaeson Birnbaum/Chief Executive Officer
                                                                        Signer/Title




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                           ALABAMA SECRETARY OF STATE
                           600 DEXTER AVENUE,
                           MONTGOMERY,, AL 36130


                           ALSTON & BIRD
                           90 PARK AVENUE
                           NEW YORK, NY 10016


                           AMERICAN LEGAL FINANCE ASSOCIATION
                           818 CONNECTICUT AVE NW SUITE 1100
                           WASHINGTON, DC 20006


                           ASHIRUS, LLC
                           181 CHERRY LANE
                           TEANECK, NJ 07666


                           BCP SPECIAL OPPORTUNITIES
                           FUND I HOLDINGS LP, AS AGENT
                           650 MADISON AVENUE, FLOOR 23
                           NEW YORK, NY 10022


                           BOB TANSEY
                           140 FAIRFIELD ROAD
                           FAIRFIELD, NJ 07004


                           BRONX COUNTY BAR ENDOWMENT FUND
                           851 GRAND CONCOURSE
                           ROOM 124
                           BRONX, NY 10451


                           CALIFORNIA SECRETARY OF STATE
                           1500 11TH STREET
                           SACRAMENTO, CA 95814


                           CIPOLLA FINANCIAL ADVISORS
                           851 FRANKLIN LAKE ROAD
                           FRANKLIN LAKES, NJ 07417


                           CNA SURETY
                           P.O BOX 957312
                           ST. LOUIS, MO 63195


                           CONNECTICUT SECRETARY OF STATE
                           30 TRINITY STREET
                           HARTFORD, CT 06106
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                       COOP CAPITAL LLC
                       400 MADISON AVENUE, SUITE 4D
                       NEW YORK, NY 10016


                       CORPORATIONS & COMPANIES
                       910 FOULK ROAD, SUITE 201
                       WILMINGTON, DE 19803


                       CRM PASSPORT LLC
                       33 GOLD STREET APT. 322
                       NEW YORK, NY 10038


                       CSC
                       P.O. BOX 13397
                       PHILADELPHIA, PA 19101


                       CT CORPORATION
                       28 LIBERTY ST FLOOR 42
                       NEW YORK, NY 10005


                       DELAWARE SECRETARY OF STATE
                       401 FEDERAL STREET, #4
                       DOVER, DE 19901


                       DELUX CHECKS
                       3680 VICTORIA STREET
                       NORTH SHOREVIEW, MN 55126


                       DIVERSIFIED PRE-SETTLEMENT PORTFOLIO I
                       228 PARK AVENUE SOUTH
                       NEW YORK, NY 10003


                       DOM BEN REALTY CORPORATION
                       280 MADISON AVENUE
                       NEW YORK, NY 10016


                       EARTH CLASS MAIL
                       228 PARK AVE SOUTH
                       NEW YORK, NY 10003


                       EISNERAMPER
                       750 THIRD AVENUE
                       NEW YORK, NY 10017
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                       FEDEX
                       P.O. BOX 371461
                       PITTSBURGH, PA 15250-7461


                       FLORIDA SECRETARY OF STATE
                       500 SOUTH BRONOUGH STREET
                       TALLAHASSEE, FL 32399


                       FREEDOMVOICE
                       5600 AVENIDA ENCINAS, SUITE 170
                       CARLSBAD, CA 92008


                       GENIUS COMPUTER SOLUTIONS, INC.
                       62 WILLIAMS STREET 4TH FLOOR
                       NEW YORK, NY 10005


                       GEORGIA CLERKS AUTHORITY
                       1875 CENTURY BOULEVARD, SUITE 100
                       ATLANTA, GA 30345


                       GOOGLE, LLC
                       1600 AMPITHEATHER PKWY
                        MOUNTAIN VIEW, CA 94043


                       GSD COMPANY
                       135 E 57TH STREET
                       NEW YORK, NY 10022


                       HITOUCH
                       PO BOX 930257
                       ATLANTA, GA 31193


                       ILLINOIS SECRETARY OF STATE
                       213 STATE CAPITOL
                       SPRINGFIELD, IL 62756


                       INDIANA SECRETARY OF STATE
                       200 W. WASHINGTON STREET, ROOM 201
                       INDIANAPOLIS, IN 46204


                       ISIS COLON
                       207 GIBSON BLVD.
                       CLARK, NJ 07066
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                       JACQUELINE A. NIGRO
                       PO BOX 1355
                       HOPEWELL JUNCTION, NY 12533


                       K & L GATES, LLP
                       1600 AMPITHEATHER PKWY
                       WILMINGTON, DE 19801


                       KEY OPERATIONS NETWORK, INC.
                       132 SAWMILL ROAD
                       SPARTA, NJ 07871


                       KORTHI CAPITAL LLC
                       129 W 12TH STREET
                       NEW YORK, NY 10011


                       LENDERS FUNDING, LLC
                       2200 FLETCHER AVENUE
                       FORT LESS, NJ 07407


                       LOUISIANA SOS
                       8585 ARCHIVES AVE
                       BATON ROUGE, LA 70809


                       MACIEL CRUZ
                       4111 ELBERTSON STREET, #662
                       ELMHURST, NY 11373


                       MAINE SECRETARY OF STATE
                       148 STATE HOUSE STATION
                       AUGUSTA, ME 04333


                       MASSACHUSETTS SECRETARY OF STATE
                       MASSACHUSETTS SECRETARY OF STATE - ONE A
                       BOSTON, MA 02108


                       MICHIGAN SECRETARY OF STATE
                       430 W ALLEGAN STREET
                       LANSING, MI 48918


                       MIGHTY GROUP INC
                       48 WEST 25TH STREET 3RD FLOOR
                       NEW YORK, NY 10010
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                       MIGHTY GROUP INC.
                       48 W. 25TH STREET, 3RD FLOOR
                       NEW YORK, NY 10010


                       MISSISSIPPI SOS
                       401 MISSISSIPPI STREET
                       JACKSON, MS 39201


                       MISSOURI SECRETARY OF STATE
                       600 WEST MAIN STREET
                       JEFFERSON CITY, MO 65101


                       NES FINANCIAL CORP
                       50 W SAN FERNANDO STREET, SUITE 300
                       SAN JOSE, CA 95113


                       NEW MEXICO SOS
                       325 DON GASPAR SUITE 300
                       SANTA FE, NM 87501


                       NEW YORK SECRETARY OF STATE
                       123 WILLIAM STREET
                       NEW YORK, NY 10038


                       NJ SOS
                       P.O. BOX 450
                       TRENTON, NJ 08646-0303


                       OHIO SECRETARY OF STATE
                       22 N 4TH STREET
                       COLUMBUS, OH 43215


                       ORISEL PERDOMO
                       9201 LAMONT AVENUE, APT. 3G
                       ELMHURST, NY 11373


                       PASHMAN STEIN PC
                       COURT PLAZA SOUTH 21 MAIN ST #200
                       HACKENSACK, NJ 07601


                       PAT PAIT
                       132 SAW MILL ROAD
                       SPARTA, NJ 07871
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                       PATRICK PAIT
                       132 SAW MILL RD
                       SPARTA, NJ 07871


                       PAYCHEX OF NEW YORK
                       1175 JOHN STREET
                       WEST HENRIETTA, NY 14586


                       PENNSYLVANIA SOS
                       401 NORTH STREET
                       HARRISBURG, PA 17120


                       PRISM ALT INCOME, LLC
                       15333 N. PIMA ROAD
                       SCOTTSDALE, AZ 85260


                       RALPH ATTANASIO
                       HUNTERS POINTE
                       MIDDLETOWN, NJ 07748


                       RAUL SLOEZEN
                       18 HASBROUCK AVENUE
                       EMERSON, NJ 07630


                       RCATV INC.
                       P.O. BOX 3243
                       GREENWOOD VILLAGE, CO 80155


                       ROBERT LIVOTI
                       47 BARRY ROAD
                       SCARSDALE, NY 10583


                       ROSEANNA GUTIERREZ
                       38-12 98TH STREET, 1ST FLOOR
                       CORONA, NY 11368


                       SALESFORCE.COM INC.
                       P.O. BOX 203141
                       DALLAS, TX 75320-3141


                       SARAH LOCKART
                       125 E 93RD STREET, APT. 5C
                       NEW YORK, NY 10128
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                       SEGUE CLOUD SERVICES LLC
                       62 MILL HILL RD
                       WOODSTOCK, NY 12498


                       SHREDX
                       P.O BOX 462
                       LYNDHURST, NJ 07071


                       SIGNATURE BANK
                       261 MADISON AVE
                       NEW YORK, NY 10016


                       SOUTH CAROLINA SECRETARY OF STATE
                       1205 PENDLETON STREET
                       COLUMBIA, SC 29201


                       STANLEY DI CICCO
                       505 EAST 79TH STREET, APT. 6L
                       NEW YORK, NY 10075


                       STAPLES DIRECT
                       500 STAPLES DRIVE
                       FRAMINGHAM, MA 01702


                       STATE OF NEW YORK WORKERS' COMPENSATION
                       PO BOX 5200
                       BINGHAMTON, NY 13902


                       TENNESSEE SECRETARY OT STATE
                       312 ROSA L. PARKS AVENUE
                       NASHVILLE, TN 37243


                       TEXAS SECRETARY OF STATE
                       1019 BRAZOS STREET
                       AUSTIN, TX 78701


                       THE BETTER BUSINESS BUREAU
                       30 EAST 33RD STREET
                       NEW YORK, NY 10016


                       THOMAS MATARAZZO
                       3 WINSLOW CIRCLE
                       TUCKAHOE, NY 10707
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                       TRIUMPH LEGAL FUNDING LLC
                       140 FAIRFIELD ROAD
                       FAIRFIELD, NJ 07004


                       TRIUMPH LEGAL FUNDING, LLC
                       140 FAIRFIELD ROAD
                       FAIRFIELD, NJ 07004


                       VERIZON
                       PO BOX 15124
                       ALBANY, NY 12212


                       VIRGINIA SECRETARY OF STATE
                       P.O. BOX 1197
                       RICHMOND, VA 23218


                       WASHINGTON STATE SOS
                       PO BOX 40220
                       OLYMPIA, WA 98504-0220


                       WILMINGTON TRUST
                       P.O. BOX 8955
                       WILMINGTON, DE 19899-8955


                       WINGMAN MARKETING
                       25562 OLD COURSE WAY
                       SAN CLARITA, CA 91355


                       WINGMAN MARKETING



                       WISCONSIN SECRETARY OF STATE
                       P.O. BOX 7848
                       MADISON, WI 53707
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Liberty Bridge Capital Management GP, LLC                                                      Case No.    20-10009
                                                                                  Debtor(s)                Chapter     7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Liberty Bridge Capital Management GP, LLC in the above captioned action, certifies
that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s)
10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 January 3, 2020                                                      /s/ Sean C. Southard
 Date                                                                 Sean C. Southard
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Liberty Bridge Capital Management GP, LLC
                                                                      Klestadt Winters Jureller Southard & Stevens, LLP
                                                                      200 West 41st Street
                                                                      17th Floor
                                                                      New York, NY 10036-7203
                                                                      (212) 972-3000 Fax:(212) 972-2245
                                                                      ssouthard@klestadt.com




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